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                                        Certificate Number: 17572-OKW-DE-036280455
                                        Bankruptcy Case Number: 21-13346


                                                      17572-OKW-DE-036280455




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 23, 2022, at 7:07 o'clock AM PST, Stephen R
Schroeder completed a course on personal financial management given by
internet by Dollar Learning Foundation, Inc., a provider approved pursuant to 11
U.S.C. § 111 to provide an instructional course concerning personal financial
management in the Western District of Oklahoma.




Date:   January 23, 2022                By:      /s/Judy Alexander


                                        Name: Judy Alexander


                                        Title:   Counselor
